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Attorneys for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO



 CYNTHIA FULLER,
                                                         PLAINTIFF’S MOTION FOR
          Plaintiff,                                    ATTORNEY FEES AND COSTS

 vs.                                                       Civil No. 1:13-cv-00035-DCN

 STATE OF IDAHO, DEPARTMENT OF                            Honorable Judge David C. Nye
 CORRECTIONS, et al.,

         Defendants.


       Plaintiff, Cynthia Fuller, by and through her undersigned attorneys, hereby submits this

Motion for Attorney Fees and Costs pursuant to Rule 54, Local Civil Rule 54.2, 42 U.S.C. §

1988 and §2000e-5(k). For the reasons set forth in her supporting Memorandum, Ms. Fuller

requests the Court award her certain attorneys’ fees, expert witness fees, and costs as the

prevailing party in this matter.

       DATED this 9th day of April, 2019.

                                      STRINDBERG & SCHOLNICK, LLC


                                      /s/ Erika Birch
                                      Attorneys for Plaintiff
        Case 1:13-cv-00035-DCN Document 162 Filed 04/09/19 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I CERTIFY that on the 9th of April, 2019, I caused a true and correct copy of the
foregoing instrument was served on the following via the CM/ECF system:


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                                                    /s/Tonya Hansen




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